                    Case 3:12-mj-02574-DEA                                    Document 52                  Filed 09/11/12                    Page 1 of 1 PageID: 143

         CJA 20 APPOINT\IENT OF AND AF IIIORIT V tO PAY COURT APPO[NTFD COUNSEL
                                                                                Re                                   5 ))
     I    CIR DIST.    DIV CODE                 2   PERSoN REPRESENtED                                                                  VOUCHER NUMBER
                                                    MARK BEIRFA
  3 MAO DKT DEE NIMBUR                                       3    01ST DKf DEE         NUMBER              5 APPEALS DKT DLF NUMBER                           6.   OlDER DKI NI. MBLR
                     12-2574-8 (DFA)
  -.

          iN CASE MATTER OF           1i \ainci              S    PV\IENT CATEGORY                         9       1WiERSON REPRESENTED                       10       REPRESENTAtION TYPE
                                                                 ‘1
                                                                 1
                                                                 5 on                      Pett Offense        duIt Defendant             (& 1n!ruU onj
                                                                                                                                           El AppeHant
               ISA V. GIORGIAN1. et a!..        Misdemeanor              Other               Juen0e Defendant         E Appellee          CC
                                                Appeal                                       Other
     1 t ( )EFI \SES CHARGED Cite t S Code title & Section) ii iir iA in un  tfe,i w2i up lu ‘,iei rnc:r (),JLflL arged       g to ‘evctni of ten
          2 I 846    CONSPIR\CY TO DISTRIBL IF CONTROLLED SUBSTANCE


  t ATTORNEYS NAME Ir’r \i                              Iic( \arn      uJnnani     ‘riri                  UCOURT ORDER
    AND MAIt1NG ADDRESS
                                                                                                          /Appointing Counsel                                      C    Co-Counsel
                                                                                                               F   Subs For Federal Defender                       R    Subs For Retained \ttorney
                     Kim Otis. Esq.                                                                            P   Subs For Panel Attorney                         Y    Standby Counsel
                     I 04 Nassau Street
                     Princeton, NJ 08542                                                                  Prior Anorne s Name
                                                                                                              Appointment Dates
                                                                                                           LJecause the above-named person represented has testified under oath or has othenise
         Telephone Number                                        oOc-92 1 -0090                           satisfied this Court that he or she i is tinanctall unable to emp1o eoune1 and 2 does not
                                                                                                          wish to waie counsel, and because the interests ofjusttce so require, the attorney whose
 1 NAME AND MAll ING ADDRESS OF LA\V FIRM iOn/s providL per instructions)                                 name appears in hem 12 is appointed to represent this person in this case, OR
                                                                                                           S Other (See lnstrar ãonsi

                                                                                                                               ;          k’
                                                                                                                            Signature of Pr
                                                                                                                                         di Judicial Officer or By Order of the Court
                                                                                                                                         7

                                                                                                                                 ,,-J
                                                                                                                      Date of Order                               Nunc Pro Tune Date
                                                                                                          tnent or partial repament ordered from the person represented for this service at time
                                                                                                          5
                                                                                                          Repa’
                                                                                                          appointment      C YES        NO
                               CLAIM FOR SERVICES AND EXPENSES
                                                                                                                                                  FOR COURT USE ONI
                                                                                                                                                                Y
                                                                                                                                                                1

                                                                                              HOURS                  TOTAL              MATHJTECH              MATHJECH.
            CM EGORIES (Attach itemization of services stith datea                                                  AMOuNT                                                            ADDITIONAL
                                                                                            C 1 A IMED                                   ADJUSTED               ADJUSTED
                                                                                                                    CLAIMED               HOURS                                         REVJEW
                                                                                                                                                                AMOUNT
 15         a Arraignment andior Plea
            b Bail and Detention Hearings
            c Motion Hearings
            C Trial
            e Sentencing Hearings
            F Revocation Hearings
            g Appeals Court
            h. Other (Speciti in additional .v/icetsi
            (RATE PER HOUR = S                                     )   TOTALS:
 16         a Interviews and Conferences
            N Obtaining and reviewing records
            c Legal research and bnef writing
            C Travel time
            e Investigative and other work Cs’pectti on additional sheets,i
            (RATE PER HOUR = S                                t   TOTALS:
1’.         Travel Expenses (/odg1ng parking. inca/c, il/i/cage. eu)
18          Other Expenses lather than erpert, transcripts, etc
GRAND TOTALS CIAI1ED AND ADJUSTED)
19 CERTIFICATION OF AI’TORNEY PAYEE FOR TIlE PERIOD OF SERVICE                                             20 APPOINTMENT TERMINATION DATE                                21   CASE DISPOSITION
                                                                                                              IF OTHER I’ HAN CASE COMPLETION
                                                                 TO:
22 Cl AIM STA UI’S                        Final Payment               U Interim Paxrnent Number                                      U Supplemental Pas inent
          Have you pres ouch applied Jo the court Ear compensation and or reimbursement Or this       U YES      U NO            If ses, were au paid?     U YES        U NO
          Other than from the Court, have you. or to your knowledge has anyone else, received paymenl Compensation or ansthinç’
                                                                                                                                of va/nUt from any other source in connection with this
          representation? U YES          U NO            It yes, give details on additional sheets
          I sssear or affirm the truth or correctness of the above statements.
          Signature of Attorney
                                                                                                                                               Date

                                                                   APPROVED VOR PAYMENT — COURT USE ONLY
23       INCOURTCOMP
                                          123   OUt OF COURTCOMP.                 25. TRAVELEXPENSES                26 OTHEREXPENSES                     2’ TOTALAMTAPPR CERT

28 SIGNA ft RE Of THE PRESIDING JUDICIAL 01 EICER                                                                   DATE                                 28a JUDGE MAG JUDGE CODE

29 IN COURT COMP                           30 OF 1 OF COtaR U COMP                31   TRAVEL EXPENSES              32 OThER EXPENSES                    33        tOTAL AMT APPROVED

34 SIGNATURE OF CIIIEF JUDGE, COt RT OF APPEALS 1
                                                OR DELEGATL; Pasinent upprored                                      DAI F                                34a JUDGE CODE
   in excesc of the statutory threshold amount.
